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                                                  #:24073


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                   8                        UNITED STATES DISTRICT .COURT
                   9                      CENTRAL DISTRICT OF CALIFORNIA
                 10                                 EASTERN DIVISION
                 11      CARTER BRYANT, an individual,      CASE NO. CV 04- 9049 SGL (RNBx)
                                                            Consolidated with
                 12                                         Case Nos. CV 04-09059 & CV OS-2727
                                       Plaintiff,
                 13                                         DISCOVERY MATTER
                              vs.
                 14                                          To Be Heard By Discovery Master
                                                              on. Edward Infante (Ret.)]
                 15      MATTEL, INC., a Delaware
                         corporation,                       DECLARATION OF OLEG
                 16                                         STOLYAR IN SUPPORT OF
                                                            MOTION OF MATTEL, INC. TO
                 17                    Defendant.           ENFORCE THE COURT'S ORDER
                                                            OF MAY 15, 2007, TO COMPEL
                 18 ''                                      MGA TO PRODUCE COMPELLED
                                                            CALENDARS, AND FOR
                 19 AND CONSOLIDATED ACTIONS                SANCTIONS
                 20                                         Date: TBA
                                                            Time: TBA
                 21                                         Place: TBA
                 22                                         Phase 1
                                                            Discovery Cut-Off: January 28 2008
                 23                                         Pre-Trial Conference: May 5, 2008
                                                            Trial Date:           May 27, 2008
                 24
                 25
                 26^^,
                 271'
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                                                                         DECLARATION OF OLEG STOLYAR
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                       1                           DECLARATION OF OLEG STOLYAR
                       2
                                         I, Oleg Stolyar, declare as follows:
                       3
                                  1.     I am a member of the bar of the State of California and an associate of
                    4
                           Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel, Inc. I make
                       5
                           this declaration of personal, firsthand knowledge, and if called and sworn as a
                   6
                           witness, I could and would testify competently thereto.
                   7
                                  2.     On January 24, 2008, I left a voicemail for Andrew.Temkin, MGA's
                   8
                           counsel, asking to meet and confer regarding Mr. Temkin's January 23, 2008 letter
                   9
                           to Dylan Proctor, Mattel's counsel, which stated that MGA had located year 2000
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                           Outlook calendars for certain of its employees who worked on Bratz during that
                  1l
                           time period, among other things.
                  12
                                  3.     The morning of January 25, 2008, I received a voicemail from Mr.
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                           Temkin stating that he will be available later that day and that I should call him. I
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                           then called him twice, once in the morning and once in the late afternoon, but was
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                           unable to reach him. Each time I left a voicemail asking that we meet and confer
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                           regarding the calendars' issue. In my voicemails, I explained that, among other
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                           things, Mattel seeks clarification of if, and when, MGA intends to produce the
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                           compelled calendars reflecting its work on Bratz and/or communications with
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                           Bryant prior to 2001.
                  20
                                 4.      After not hearing back from MGA, I sent an e-mail to Mr. Temkin the
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                           afternoon of January 26, 2008, again asking for clarification on MGA's proposal to
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                           resolve the "calendars" issue. A true and correct copy of that e-mail is attached
                  23
                           hereto as Exhibit 1. Mr. Temkin responded to me via e-mail later that evening, and
                  24
                           informed me that MGA was "unclear" as to what clarification was required.
                  25
                           Attached as Exhibit 2 is a true and correct copy of Mr. Temkin's January 26, 2008 e-
                  26
                           mail to me.
                  27
                  28
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                                                                                     DECLARATION OF OLEG STOLYAR ^
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                       1        5.   I met and conferred with Mr. Temkin on January 27, 2008 regarding
                       2 the calendars' issue. Mr. Temkin informed me that MGA had located year 2000
                       3 Outlook calendars for Edmond Lee, Paula Garcia, Kerri Brode, Julie Chomo and
                    4 Leon Djigurian, but that it is his understanding that no responsive documents in
                    5 that time range were found, and so none will be produced. He also confirmed
                    6 ^ that no additional year 2000 Larian calendars will be produced.   We also discussed
                    7 a possible stipulation to extend the deadline for Mattel to move to compel on this
                    8 issue, but I informed Mr. Temkin that if MGA refused to commit to produce the
                    9 compelled calendars in entire and un-redacted form, Mattel would have no choice
                  10 but to move to compel on January 28, 2008.
                  11                 I declare under penalty of perjury under the laws of the United States of
                  12 America that the foregoing is true and correct.
                  13                 Executed on January 28, 2008, at Los Angeles, California.
                  14
                  15                                               Oleg S yar
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                                                                                DECLARATION OF OLEG STOLYAR I
